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 1 Kolin C. Tang (SBN 279834)
   Shepherd, Finkelman, Miller & Shah, LLP
 2 11755 Wilshire Boulevard, 15th Floor
   Los Angeles, CA 90025
 3 Phone: (323) 510-4060
   Fax: (866) 300-7367
 4 Email: ktang@sfmslaw.com
 5   Attorneys for Plaintiffs-Relators
 6   [Additional Counsel Listed On Signature Page]
 7
                     IN THE UNITED STATES DISTRICT COURT
 8
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
   UNITED STATES OF AMERICA,            )
10 and the STATE OF CALIFORINA, ex rel  )        CIVIL ACTION NO.:
   BOBBETTE A. SMITH and                )        2:13-cv-3772-DMG (MRWx)
11 SUSAN C. ROGERS,                     )
                                        )        (Assigned to the Honorable
12                                      )            Dolly M. Gee)
                   Plaintiffs-Relators, )
13                                      )        PLAINTIFFS-RELATORS’
              vs.                       )        MEMORANDUM OF POINTS
14                                      )        AND AUTHORITIES IN
     TOM S. CHANG, M.D.;                )        OPPOSITION TO
15   TOM S. CHANG, M.D., INC.;          )        DEFENDANTS’ MOTION
     MICHAEL A. SAMUEL, M.D.;           )        TO DISMISS THE SECOND
16   MICHAEL J. DAVIS, M.D.;            )        AMENDED COMPLAINT
     RETINA INSTITUTE OF CALIFORNIA )
17   MEDICAL GROUP, CALIFORNIA EYE )             Date:     March 17, 2017
     AND EAR SPECIALISTS, a/k/a         )        Time:     9:30 a.m.
18   OCULAR INSTITUTE OF CALIFORNIA; )           Place:    Courtroom 8C, 8th Floor
     BRETT BRAUN; and SAN GABRIEL       )
19   AMBULATORY SURGERY CENTER LP, )
                                        )
20                 Defendants.          )
                                        )
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23   76 Fed. Reg. 42772 (July 19) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
24   State Statutes
25   Cal. Bus. & Prof. Code § 654.2 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17, 32
26   Cal. Bus. & Prof. Code § 657 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32
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 1   Cal. Bus. & Prof. Code § 657(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32, 34
 2   Cal. Gov. Code §12650 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
 3   CA-IFPA §1871.7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2
 4   State Regulations
 5   22 C.C.R 51480(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15, 32
 6   Other Authorities
 7   OIG Advisory Opinion No. 97-4 (HHSOIG),
      1997 WL 34684552 (September 25, 1997) . . . . . . . . . . . . . . . . . . . . . . . . . . 19, 20
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     J. Boese, CIVIL FALSE CLAIMS AND QUI TAM ACTIONS, § 3.01[A] . . . . . . . 26
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 1   I.    INTRODUCTION
 2         On behalf of the United States of America (“United States”) and the State of
 3   California (“California”), Plaintiffs-Relators, Bobbette A. Smith (“Plaintiff-
 4   Relator Smith”) and Susan C. Rogers (“Plaintiff-Relator Rogers”) (collectively,
 5   “Plaintiffs-Relators” or “Relators” or “Plaintiffs”), respectfully submit this
 6   Memorandum of Points and Authorities in Opposition (“MPA”) to the Motion to
 7   Dismiss (“Motion”) the Second Amended Complaint (“Complaint” or “SAC”) of
 8   Defendants, Tom S. Chang, M.D. (“Dr. Chang”), Tom S. Chang, M.D., Inc. (“Dr.
 9   Chang Inc.”), Michael A. Samuel, M.D. (“Dr. Samuel”), Michael J. Davis, M.D.
10   (“Dr. Davis”) (collectively, “RIC Partners”); Brett Braun (“Braun”); Retina
11   Institute of California Medical Group, (“RIC,” and with RIC Partners, the “RIC
12   Defendants”); California Eye and Ear Specialists (“CEES” or “California Eye and
13   Ear”); and San Gabriel Ambulatory Surgery Center LP, (“SG-ASC” or “San
14   Gabriel Surgery Center”) (collectively, “Defendants”). Defendants’ requested
15   dismissal is, in a word, perfunctory. In essence, as discussed below, Defendants
16   literally are “going through the motions” by submitting a Motion that has no
17   prospects for success on the merits and essentially repeats the same, tired
18   arguments contained in their previous Motion to Dismiss the Amended Complaint.1
19   That effort should not be permitted to stand.
20
21         1
             Indeed, many of the citations in Defendants’ Motion and supporting papers
22   are to paragraphs of the First Amended Complaint (“FAC”), as opposed to the
     SAC, thereby making it clear that Defendants have made no serious effort to
23   confront the actual averments of the SAC. Likewise, Defendants’ alleged
24   compliance with Local Civil Rule 7-3, based upon discussions in November and
     December, 2016 -- dates which pre-date the filing of the SAC - make clear the
25
     approach that Defendants have taken to the current Motion. See Superbalife, Int'l
26   v. Powerpay, CV 08-5099 PSG (PJWx), 2008 WL 4559752, at *2 (N.D. Cal. Oct.
     7, 2008) (denying a motion after the party violated Local Rule 7-3 and stating that
27
     “absent any evidence that a party attempted to meet and confer in good faith, this
28   Court is unwilling to excuse noncompliance with the Local Rules”).
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 1   II.   STATEMENT OF FACTS
 2         A.     The Claims At Issue
 3         Plaintiffs2 assert claims against Defendants for violations of the United
 4   States False Claims Act (“FCA” or “Federal FCA”), 31 U.S.C. §§ 3729, et seq.; the
 5   Anti-Kickback Statute (the “AKS”), 42 U.S.C. § 1320a-7b, the California False
 6   Claims Act (“CA-FCA” or “State FCA”), Cal. Gov. Code §§12650, et seq.; and the
 7   California Insurance Frauds Prevention Act, Cal. Insurance Code §1871.7 (“CA-
 8   IFPA” or “State Insurance Fraud Law”), based on schemes to defraud the United
 9   States and California in connection with government-funded health care programs,
10   namely the federal Medicare Program, Title XVIII of the Social Security Act
11   (“Medicare”), 42 U.S.C. §§ 1395, et seq., the federal Medicaid Program
12   (“Medicaid”), 42 U.S.C. §§ 1396, et seq., and California’s corresponding Medicaid
13   Program (“Medi-Cal”). SAC, ¶ 1.3
14
15         2
             Plaintiff-Relator Smith has a B.A. in Business Administration from the
16   University of North Florida, a Master of Science in Logistics Management from
     the Florida Institute of Technology, and a Master of Health Care Administration
17   from Baylor University, and over 30 years of experience in the health care
18   industry, including experience with federal and state funded healthcare programs in
     multi-physician medical practices. Id. ¶ 13. Plaintiff-Relator Smith was recruited
19   and hired by Dr. Chang in June of 2012 to serve as the Chief Operating Officer
20   (“COO”) of RIC but served only six months until she resigned in January, 2013.
     Id. Plaintiff-Relator Rogers has over 20 years of experience in the area of medical
21
     billing and coding, including for federal and state funded healthcare programs in
22   multi-physician offices, and has received numerous certifications in Current
     Procedural Terminology (“CPT”) Coding and Billing and Ophthalmic Coding and
23
     Reimbursement. Id. ¶ 14. She was hired by RIC in June, 2012, at the
24   recommendation of Plaintiff-Relator Smith, to be the Billing Department Manager
25   of RIC, but only served in that position for six months until she resigned in January
     2013. Id.
26
           3
           Defendant, RIC, is a retina sub-specialty ophthalmology practice with 35
27
   offices and approximately 20 Medicare Provider Physicians (“Provider
28 Physicians”) licensed to practice medicine in California. Id., ¶ 17. RIC is a

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 1         Plaintiffs allege that Defendants engaged in multiple fraudulent schemes,
 2   each resulting in the submission of false claims for reimbursements from Medicaid,
 3   Medicare and/or Medi-Cal. Id., ¶ 2. In one scheme, the RIC Defendants provided
 4   kickbacks to Medicare beneficiaries by routinely waiving their co-payments, which
 5   is the amount the beneficiaries were required to pay for services rendered, without
 6   an individualized determination of financial hardship or exhaustion of reasonable
 7   collection efforts. Id., ¶ 3. In addition, even though Defendants waived the co-
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 9
     medical partnership founded by Dr. Chang in or around 2006 and owned by his
10   partners, Dr. Chang, Dr. Samuel and Dr. Davis. Id. Defendant, Dr. Chang, is a
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     Canadian-trained ophthalmologist licensed to practice medicine by the State of
     California whose clinical interests include macular degeneration and diabetic
12   retinopathy. Id., ¶ 18. At all pertinent times, Dr. Chang was the majority owner
13   and controlling partner at RIC and received the vast majority of the partnership
     distributions from RIC, as well as the majority of the compensation derived by all
14   physicians employed by RIC. Id. Dr. Chang controls, directs and supervises the
15   day to day practice of medicine at RIC. Id. Defendant, Dr. Chang Inc., is a
     management company owned by Dr. Chang. Id., ¶ 19. Dr. Chang receives 10% of
16
     all of RIC’s collectibles as his management fee through Dr. Chang Inc. Id.
17   Defendant, Dr. Samuel, is RIC’s Chief Medical Director and is an ophthalmologist
     licensed by the State of California. Id., ¶ 20. Defendant, Dr. Davis, is RIC’s
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     Fellowship and Educational Director and is an ophthalmologist licensed by the
19   State of California. Id., ¶ 21. Defendant, CEES, is an ophthalmology practice
20
     owned by Dr. Chang. CEES includes a practice known as Ocular Institute of
     California (“OIC”). Id., ¶ 22. In 2012, CEES was carried on RIC’s balance sheet
21   as owing RIC receivables of $674,078.44. Id. At all pertinent times, CEES acted
22   and functioned as the alter ego of and as an integrated enterprise with RIC. Id.
     Defendant, Braun, is a former California resident and the former CEO of Retina
23   Institute. Id., ¶ 23. Braun’s principal task at RIC was to increase patient referrals,
24   including Medicare Part B patient referrals. Id. Defendant, SG-ASC, is a limited
     partnership organized under the laws of the State of California. Id., ¶ 24. SG-ASC
25
     provides multi-speciality outpatient surgical services, including ophthalmology
26   services, and receives Medicare patient referrals from CEES. Id. In 2012, SG-
     ASC was carried on RIC’s balance sheet as owing RIC receivables of $593,247.27.
27
     Id. At all pertinent times, SG-ASC acted and functioned as the alter ego of and as
28   an integrated enterprise with RIC. Id.
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 1   payments, they included the co-payment amounts in billings submitted to Medicare
 2   for reimbursement, thereby falsely inflating bills to Medicare for those services.
 3   Id. In another scheme, the RIC Defendants submitted claims for Medicare,
 4   Medicaid and Medi-Cal reimbursements for CPT billing codes 99204, 99214,
 5   99215 and 92240, even though these services (i) were not medically necessary, (ii)
 6   were not actually performed, (iii) were not documented in the medical records,
 7   and/or (iv) failed to otherwise comply with Medicare, Medicaid and Medi-Cal
 8   rules and regulations. Id., ¶ 4. RIC submitted thousands of fraudulent claims to
 9   Medicare, Medicaid and Medi-Cal, and was paid based on each of those claims.
10   Id. As described more fully below, Defendants engaged in multiple acts of
11   additional fraud, all of which they utilized to aggressively build their business
12   (quadrupling in size in four short years from 2009 to 2012) in a highly competitive
13   market. Id., ¶ 5. The secret to Defendants’ success was simple: engaging in
14   multiple and consistent acts of fraudulent and unscrupulous business practices
15   centered upon submitting false claims to the United States and California, as well
16   as private insurers. Id.
17         B.     Defendants’ Co-Payment Waiver Scheme
18                1.     Co-Payment Waivers As Inducement to Medicare Patients
19         Medicare generally covers 80% of the “reasonable charges” billed by the
20   provider for the Medicare-approved health services provided to a patient. 42
21   U.S.C. § 1395(a)(1); id., ¶ 55. Accordingly, the patient is normally required to
22   contribute the remaining 20% as a co-payment. 42 U.S.C. § 1395cc(a)(2)(A)(ii);
23   id. Waiver of co-payments in consideration of a particular patient’s financial
24   hardship is permitted in exceptional circumstances. Id., ¶ 56. (emphasis added).
25   The hardship exception, however, must not be used routinely; it should be used
26   occasionally to address the special financial needs of a particular patient, supported
27   by documentation of financial hardship. Id. Except in special cases, a good faith
28   effort to collect deductibles and co-payments must be made. Id.
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 1         The Office of Inspector General (“OIG”) has interpreted the AKS to apply to
 2   waiving patient cost sharing amounts if “one purpose” of the waiver is to induce or
 3   reward federal program business. Id., ¶ 57, citing OIG, Special Fraud Alert:
 4   Routine Waivers of Co-payments or Deductibles under Medicare Part B (May
 5   1991)(emphasis added). In addition, 42 U.S.C. 1320a-7a(a)(5) prohibits a person
 6   from offering or transferring remuneration to a beneficiary that such person knows
 7   or should know is likely to influence the beneficiary to order items or services from
 8   a particular provider or supplier for which payment may be made under any federal
 9   health care program. Id., ¶ 58. “Remuneration” is defined as including a waiver
10   of coinsurance and deductible amounts, with exceptions for certain financial
11   hardship waivers, which are not prohibited. Id., ¶ 58 (emphasis added).
12         Over two-thirds of RIC’s patients are covered by Medicare Part B. Id., ¶ 59.
13   The average Medicare co-payment a patient would be required to pay RIC is $90-
14   100 per visit. Id., ¶ 60. It is RIC’s policy and practice to routinely waive co-
15   payments without making an individualized determination of financial hardship or
16   exhausting reasonable collection efforts. Id., ¶ 61. RIC waives co-payments for
17   various reasons, including for individuals who sought frequent medical services,
18   who had a high balance, whose insurance did not pay certain amounts, or who
19   expressed an inability to pay. Id., ¶ 62. None of these reasons is an allowable
20   exception. Id. Additionally, RIC consistently waived the co-payments without
21   receiving any supporting documentation or information. Id. RIC notes the waiver
22   of these co-payments in its billing system using terms such as “financial hardship”
23   or “balance write off,” often with notations such as “w/o [written off] per doctor”
24   or “per Dr. Chang.” Id., ¶ 63.4 No financial review was ever performed by anyone
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26        While RIC has a “Statement of Financial Hardship” form, conspicuously
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   missing from the form is language requesting a waiver of Medicare co-payments
27
   and a request for an explanation of the patient’s financial hardship. Id., ¶ 65.
28 Instead, the form contains a request that RIC “reduce their usual and customary

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 1   at RIC to determine a patient’s inability to afford the co-payment. Id., ¶ 65. On
 2   the contrary, Plaintiffs-Relators were specifically instructed by Dr. Chang not to
 3   attempt to collect co-payments. Id., ¶ 65. Plaintiffs-Relators repeatedly raised
 4   concerns with senior management of RIC and other Defendants, to no avail. Id., ¶¶
 5   66-67.
 6                2.    Co-Payment Waivers As Inducement for Patient Referrals
 7         In order to obtain Medicare patient referrals from optometrists and other
 8   ophthalmologists who do not perform the same types of retina procedures as those
 9   performed by RIC, RIC physicians were instructed by the RIC Partners to inform
10   referring physicians that RIC waived co-payments and deductibles for Medicare
11   patients. Id., ¶ 68. RIC sponsors a large continuing medical education program
12   called Okularfest, where attendees then become targets for possible patient referral
13   with the inducement of the Medicare co-payment waiver. Id., ¶ 71. Referred
14   patients are induced to go to Defendants’ practice not because they are choosing a
15   physician who best serves their needs based on medical factors, but, rather,
16   because they will not incur any out-of-pocket expenses in connection with RIC’s
17   services. Id., ¶ 72. An example of a referring physician who expected and was
18   assured that RIC would waive the Medicare co-payments for his patients is Dr.
19   Michael R. Rose, who had a general ophthalmology practice located across the
20   street from RIC’s Lincoln Heights location. Id., ¶ 73. When Plaintiff-Relator
21   Smith began to work at RIC, she was told by RIC Physician Provider, Dr. Kristy
22   Lin, that Dr. Rose expected co-pays for Medicare patients to be waived and that he
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   charges in order to allow me to receive care required by my current health care
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   condition,” and then the patient is required to insert the dollar amount s/he believes
26 s/he can afford to pay RIC. Id. In addition, one option the patient is given on the
   form to establish “hardship” is “retired, fixed income”; this option makes the form
27
   a meaningless exercise to excuse Medicare co-payment waivers because nearly
28 100% of RIC’s Medicare patients would fit this category. Id.

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 1   would not refer patients if co-payments were not waived. Id. When Plaintiff-
 2   Relator Smith raised concerns with Dr. Chang about this practice, he confirmed
 3   that Dr. Rose refused to make referrals if co-payments were not waived. Id. In
 4   fact, RIC’s records for Dr. Rose’s referred Medicare patients reveal that RIC did
 5   not collect co-payments from any of these patients, and total receipts for these
 6   patients reflect that RIC received only 80% of the Medicare allowable amount. Id.
 7   These records also reveal that the patients’ co-payments were waived without
 8   regard to financial hardship criteria. Id. Plaintiff-Relator Rogers had a similar
 9   experience with RIC Physician Provider, Dr. Suk. Id., ¶ 74.
10         In sum, from at least 2006 and continuing to the present, in violation of the
11   FCA, CA-FCA and AKS, Defendants knowingly and routinely waived co-
12   payments owed by Medicare Part B beneficiaries in order to unlawfully induce
13   them to use their services and in order to continue to attract new Medicare patients
14   and receive referrals from other eye care physicians. Id., ¶ 75. Defendants then
15   knowingly submitted, or caused to be submitted, claims for payment to Medicare
16   for services rendered, knowing that those certifications were false, because each
17   claim for payment was tainted by the kickbacks detailed in this action. Id.
18         C.     Defendants Obtain Referrals That Violate the Anti-Kickback
                  Statute and the Anti-Self-Referral Laws
19
           In or about June, 2012, RIC entered into a co-marketing agreement with
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     and/or made a loan to a business known as RIC Diagnostics (“RICX”), whose
21
     president is Dan Bienenfield. Id., ¶ 77. Upon information and belief, RICX is a
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     corporate entity that is related to RIC and in which Dr. Chang maintains a financial
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     interest. Id. In return, RICX is expected to funnel referrals from optometrists to
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     RIC. Id. RIC is aware that payments for services rendered to some of the referred
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     patients will be made by Medicare. Id.
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           RICX operates a mobile optical coherence tomography (“OCT”) device used
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     to diagnose various conditions of the retina. Id. at 78. RICX brings this equipment
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 1   to the optometrist’s office, charging him/her a per use fee. Id. In turn, the
 2   optometrist bills the patient or the patient’s insurer a higher fee for the test that
 3   uses the OCT equipment. Id. RICX actively encourages optometrists to refer
 4   patients to RIC. Id., ¶ 79. The optometrists are provided with a referral form to
 5   complete when they send the patient to RIC after RICX’s OCT is used for
 6   diagnostic purposes. Id. RIC physicians train optometrists, at no charge, how to
 7   read the OCT images at 2-3 hour workshops for optometrists. Id., ¶ 80. The
 8   optometrists are also told that RIC ophthalmologists will interpret the image free of
 9   charge if requested to do so by the optometrists. Id., ¶ 81. Obviously, the
10   expectation is that once an RIC doctor has looked at the image, he or she would
11   handle any retina condition that was discovered. Id.5
12          At a meeting on August 9, 2012, Braun told the providers that “RIC has had
13   large financial and [sic] Commitment to this project—everyone should strongly
14   promote this service.” Id., ¶ 84. In other words, the RIC doctors are supposed to
15   contact optometrists and encourage them to use the RICX service, which will, in
16   turn, generate referrals to RIC. Id. At an August 19, 2012 Executive Committee
17   meeting, Dr. Samuel wanted the doctors “to focus on all referrals from Dan
18   [Bienenfeld].” Id., ¶ 85. Further, at a meeting on September 20, 2012, Braun
19   stated to the doctors: RICX is “still growing. Need to help Dan [Bienenfeld]
20   identify potential users. SK [Dr. Kamjoo] has been proactive by targeting current
21   users of the service as an introduction: Will do an iPad giveaway for potential
22   referrals during October CE. Will also speak about OCT/Diagnostics during CE
23   event.” Id., ¶ 86. The target for referrals from RICX was 20 patients per month.
24   Id., ¶ 89. Plaintiff-Relator Smith’s handwritten notes from the January 15, 2013
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           RICX received considerable attention as part of RIC’s overall marketing
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   efforts, including a webinar attended by all providers and the provision of RICX
28 brochures to be distributed to optometrists. Id., ¶ 82.

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 1   Executive Committee Meeting record and that Dr. Chang stated, “If he did
 2   increase our referrals, I’ll give him another $15,000, but don’t put that in the
 3   minutes.” Id. (emphasis added.)
 4         D.   RIC Defendants’ Violation of the AKS
                Relating to the San Gabriel Ambulatory Surgery Center
 5         RIC owns investment interests in an ambulatory surgery center known as the
 6   San Gabriel Surgery Center. Id., ¶ 91. Drs. Chang, Samuel and Davis collectively
 7   own 50% of SG-ASC. Id. Drs. Chang, Samuel, and Davis routinely refer patients
 8   of RIC who require surgery to SG-ASC for the performance of that surgery. Id., ¶
 9   92. Physicians employed by RIC and CEES also refer patients to SG-ASC. Id.
10   Plaintiffs-Relators are in possession of a list of patients referred by RIC and CEES
11   doctors to SG-ASC between 2010 and 2012. Id.
12         Referrals for medical services to an entity in which the referring physicians
13   has a financial interest violate the AKS unless they fall within the requirements of
14   “safe harbor” regulations promulgated by CMS. Id., ¶ 93. A referral of a patient to
15   an ambulatory surgery center in which a physician has an investment interest does
16   not meet the “safe harbor” regulations of the AKS unless the patient is fully
17   informed of the investor’s investment interest. 42 C.F.R. 1001.952(r); id. Strict
18   compliance with all elements is required for safe harbor protection. 56 Fed. Reg.
19   35952, 35954 (July 29, 1991); id., ¶ 94. RIC and CEES physicians do not advise
20   their patients that the RIC Defendants have an investment interest in SG-ASC. Id.,
21   ¶ 95. Rather, patients are given a brochure which states, “[t]he ownership for San
22   Gabriel Ambulatory Surgery Center may be obtained by contacting the center at
23   (626) 300-5300.” Id. At the request of Plaintiff-Relator Smith, the RIC scheduler,
24   Krystal Ramirez, called (626) 300-5300 to learn who owned SG-ASC. Id., ¶ 96.
25   However, the individuals at the center who responded to the call could not provide
26   any information about the ownership of that facility, nor could they name or
27   identity anyone who could do so. Id.
28

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 1         E.     The RIC Defendants Engage In Upcoding And Perform
                  Worthless And Harmful Procedures
 2
                  1.    The RIC Defendants Engage in Overcoding of E/M Events
 3
           The RIC Defendants and their providers regularly submit claims to Medicare
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     for examinations and procedures different from those actually performed. Id., ¶
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     101. For example, the RIC Defendants and the providers frequently billed for CPT
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     codes 99214, 99215 and 99204 exams, when the providers did not perform the
 7
     requisite services for these codes. Id. The amount of money a medical provider is
 8
     paid for his or her services by Medicare or Medicaid depends on which CPT codes
 9
     are used. Id., ¶ 102. The Medicare program requires physician providers to bill
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     Medicare Part B services, including office visits, using the American Medical
11
     Association’s Current Procedural Terminology (“CPT-4”) numeric codes to
12
     describe the procedures and services provided. Id., citing Medicare Claims
13
     Processing Manual (“MCPM”), Pub. 100-04, Ch.12, § 30. CPT codes determine
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     both coverage, i.e., if Medicare will pay for the billed medical procedures and
15
     services, and the reimbursement amount, i.e., how much Medicare will pay for the
16
     billed medical procedures and services. Id.6
17
           Medicare reimburses only for “medically necessary,” or “reasonable and
18
19
20         6
             For patients making an office visit, a provider physician’s evaluation and
21    management (“E/M”) services are billed using five-level series of CPT codes, for
22   either a new patient (CPT-4 Codes 99201 through 99205) or an established patient
     (CPT-4 Codes 99211 through 99215). Id., ¶ 103. In addition, there are varying
23   levels of complexity assigned to the patient’s visit from level 1 to level 5, with
24   level 1 being the lowest and level 5 being the highest level of complexity. Id. The
     applicable E/M code level of service is defined by the level of History, the level of
25
     Examination, and the Complexity of Medical Decision Making. Id., ¶ 104. These
26   three components are evaluated in the context of the medical necessity for the level
     of history and the level of examination. Id. As the patient’s examination becomes
27
     increasingly in-depth or greater time is spent with the patient, the code number
28   increases, with 99211 as the lowest level and 99215 as the highest-level. Id.
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 1   necessary” services and procedures, including levels of E/M. 42 U.S.C. §
 2   1395y(a)(l)(A). Id., ¶ 112. Based on a government audit conducted of Medicare
 3   claims data submitted by Dr. Chang (1-3-2006 to 7-30-2013), Dr. Davis (7-17-08
 4   to 7-31-13) and Dr. Samuel (1-4-06 to 7-31-13), the following overcoding/under
 5   documenting was observed for new patients and established patients: virtually all
 6   new patients were coded at Level 4 (99204 Office or Outpatient Encounter, Level
 7   4, or 99244, Office or Outpatient Consultation, Level 4) and most established
 8   patients were coded at Level 4 (99214; some were at Level 3 or Level 5), which
 9   coding was unsupported by the medical records. Id., ¶ 113. While Level 4 new
10   patients and/or consultations require all three components -- Comprehensive
11   History, Comprehensive Examination, and Moderately Complex Medical
12   Decision-Making -- and the code is based on the lowest of the three components,
13   most of the RIC Defendants’ encounters failed because the documentation of the
14   “History of Present Illness” was brief (only 1 – 3 of 8 possible elements),
15   downgrading the history to “Expanded Problem-Focused,” and, therefore, the code
16   should have been at Level 2, even though the “Decision-Making” and the “Eye
17   Examination” were properly documented. Id.
18         Based on the audit described above, Dr. Chang was found to have charged at
19   Level 4 on 98% of his encounters, Dr. Samuel charged at Level 4 on 99% of his
20   encounters (even though he averaged 40 to 50 patient visits per day), and Dr. Davis
21   charged at Level 4 or 5 99% of the time. Statewide, retina specialists charge at
22   level 4 only 57% of the time. Id., ¶ 114. In addition, while Dr. Davis has advised
23   other RIC Provider Physicians not to use Level 5 because it is rarely justified, he
24   singlehandedly accounts for 25% of all Level 5 charges by retina specialists in the
25   State of California. RIC records show that Dr. Davis billed 428 patients at 99215.
26   Id. Further, the audit found that the RIC Defendants’ practice of bringing their
27   patients back every few weeks for follow-up visits was medically unnecessary and
28   unreasonable. Id., ¶ 115.
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 1         The chart below provides a summary of RIC Defendants’ E/M overcoding
 2   scheme for CPT codes 99204, 99214, and 99215:
 3
      RIC Medicare         Medicare             Overcoded            % Overcoded
 4    Provider             Charges              Medicare             Medicare
                                                Charges              Charges
 5    CHANG                $407,677.70          $119,911.05               29%
 6    DAVIS                $ 86,028.50          $ 29,141.76               34%
 7    SAMUEL               $201,640.28          $ 59,513.66               30%
 8    TOTALS               $695,346.48          $208,566.47               30%

 9         F.    RIC Defendants’ Unnecessary Claims for CPT Code 92240: ICG
                 Testing
10
           CPT Code 92240 is the code used to bill Medicare for Indocyanine green
11
     angiography or “ICG,” a controversial technique used infrequently in evaluating
12
     and treating age-related macular degeneration (“AMD”). Id., ¶ 117. According to
13
     the American Academy of Ophthalmology (“AAO”) Preferred Practice Pattern
14
     (“PPP”), the standard of care diagnostic test for AMD is Optical Coherence
15
     Tomography (“OCT”), and, if indicated, followed by Fluorescein Angiography
16
     (“FA”). Id. This PPP was developed and written by the Retina/Vitreous Preferred
17
     Practice Panel of the AAO, and it was carefully reviewed by nationally recognized
18
     panels. Id. The PPP was approved by the AAO Board of Trustees on September
19
     20, 2014 and continues to be the current standard of care for the evaluation and
20
     treatment of AMD. Id.
21
           While the AAO discusses the use of ICG in very limited circumstances, the
22
     routine use of ICG in evaluating and treating AMD is not supported by scientific
23
     studies, and, unsurprisingly, the AAO has advised that when ICG is performed, the
24
     physician must be aware of the potential risks associated with the procedure,
25
     including severe medical complications, allergic reactions and even death. Id., ¶
26
     118. An independent Department of Justice (“DOJ”) evaluation of RIC
27
     Defendants’ use of ICGs performed on Medicare patients between February and
28

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 1   May 2014 revealed that ICG was used for virtually every patient visit, and only
 2   9.2% of the ICG studies were found to be appropriate and medically necessary.
 3   Id., ¶ 119.
 4          The importance of the ICG testing to the RIC Defendants is unequivocally
 5   the Medicare reimbursement amount at issue: the AAO’s PPP (i.e., OCT),
 6   reimburses approximately $50.00 for the Medicare patient (the amount may differ
 7   by year and region), contrasted against the ICG CPT Code 99240, which
 8   reimburses approximately $300.00 per patient. Id., ¶ 120. As a result, each
 9   Medicare patient represents an additional $250.00 to the RIC Defendants for their
10   use of ICGs. Id. Unsurprisingly, in electronic correspondence, Dr. Samuel
11   describes ICG as “the most important test we run,” while Dr. Davis comments
12   about how one of their new clinics could make much more money, “[i]magine if
13   there was ICG there...,” and Dr. Chang comments about Dr. Suk’s outstanding
14   patient reimbursement, $15,000 in just one morning, “...simply by warming up the
15   ICG.”7 Id.
16          G.     Defendants Engage in Double Billing
17          RIC entered into an arrangement with Dr. Mark B. Kislinger whereby Dr.
18   Bhatti of RIC would staff Dr. Kislinger’s Glendora, California clinic several times
19   per week. Id., ¶ 122. Dr. Kislinger was supposed to and did bill Medicare and
20   other payors for Dr. Bhatti’s services performed at the Glendora clinic. Id. RIC
21   was to and did receive from Dr. Kislinger one-half of the fees collected for Dr.
22   Bhatti’s services. Id. Between at least April through June of 2012, RIC also billed
23
24
           In 2012, the RIC Defendants billed Medicare $3,883,206 for CPT Code
            7

25
   92240. Id., ¶ 121. Dr. Chang is paid more for ICGs every year than any other
26 doctor in California, and Dr. Davis is right behind him in the number two slot. Id.
   Moreover, while 88% of RIC’s ICG charges are for Medicare patients, only 0.5%
27
   are billed to HMOs; this is because HMOs require prior authorization, which the
28 RIC Defendants knew they would likely be unable to obtain. Id.

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 1   Medicare for the services Dr. Bhatti had performed in Dr. Kislinger’s clinic as
 2   though the services had been provided at RIC. Id., ¶ 123. The claims submitted to
 3   Medicare by Defendants for work performed by Dr. Bhatti at Glendora, which had
 4   already been billed by Dr. Kislinger, were false and fraudulent. Id., ¶ 124.
 5         H.     The Compensation Structure Encourages Unnecessary Tests
                  and Upcoding
 6
           In January, 2013, RIC announced that, in order to become a partner, an
 7
     employed doctor would have to exceed the average charges (minus charges paid by
 8
     J Code) of the three partners, for two quarters. Id., ¶ 126. Because the partners of
 9
     RIC were billing for unnecessary ICG tests and upcoding, the only way an
10
     employed doctor could meet this requirement would be to order unnecessary ICG
11
     tests or also to upcode. Id., ¶ 127. Indeed, when informed of this change, Dr.
12
     Camille Harrison stated she could never meet the requirement because she did not
13
     order ICG tests as often as the RIC principals. Id., ¶ 128.
14
           I.     RIC Through CEES Bills Medicare For Services Not Performed
15
           Dr. Lily Lee, Dr. Chang’s wife, is a plastic surgeon licensed to practice
16
     medicine in California, as well as an approved Medicare provider. Id., ¶ 129.
17
     CEES billed Medicare for Dr. Lee’s services for assisting in retinal surgeries when
18
     it knew that she was not present and in which she did not actually participate. Id.,
19
     ¶ 130. For example, Medicare was billed for retinal surgery performed on patient
20
     NEG on December 13, 2012, under CPT 67113, which surgery, as CEES was
21
     aware, did not require an assistant surgeon, and the SAC details numerous other
22
     instances where Medicare was billed for Dr. Lee’s services when she was not
23
     present. Id., ¶ 131.
24
           J.     RIC Defendants Knowingly Retain Overpayments From The
25                Physicians Quality Reporting System
26         RIC is a voluntary participant in the Physician Quality Reporting System
27   (“PQRS”). Id., ¶ 133. Under the PQRS, eligible professionals who satisfactorily
28   report data on quality measures for covered Physician Fee Schedule Services
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 1   provided to Medicare Part B Fee for Service beneficiaries receive specified
 2   incentive payments, 42 U.S.C. §1395w-4(k), (m). Id. In order to receive the
 3   payments provided under the PQRS program for 2011, RIC was required to
 4   provide data for a 12-month period, or the period January 1, 2011 to December 31,
 5   2011. 75 Fed. Reg. § 5 (Aug. 26, 2010), pp. 40168-40178; see 76 Fed. Reg. 42772
 6   (July 19) at p. 42842; 42 CFR § 414.90. Id., ¶ 134. When RIC provided its data
 7   on quality measures, although it should have provided information for the entire
 8   year, it only provided information for the four months from September through
 9   December of 2011. Id., ¶ 135. For 2012, certain of the information reported was
10   for activities that had not actually occurred. Id. Each of the RIC principals
11   attested to the accuracy of the information submitted. Id.
12         In October, 2012, RIC received $60,000 from CMS as a result of the
13   purportedly complete information it provided to PQRS for 2011. Id., ¶ 136.
14   Plaintiff-Relator Smith advised the RIC partners that RIC should return the funds
15   because RIC had not complied with the PQRS program by providing the required
16   amount of data. Id., ¶ 137.
17         K.     California Legal Violations
18                1.     Violations of California Discriminatory Billing Rules
19         The CA-FCA, codified in the California Government Code sections 12650,
20   et seq., states that it is a violation to: (a) knowingly present or cause to be presented
21   false claims for payment or approval of claims for Medi-Cal reimbursement; and/or
22   (b) knowingly make, use, or cause to be made or used false records or statements to
23   get false claims paid or approved by California for Medi-Cal reimbursement. Id., ¶
24   139. Under Title 22, Section 51480(a) of the California Code of Regulations, “no
25   provider shall bill or submit a claim for reimbursement for the rendering of health
26   care services to a Medi-Cal beneficiary in any amount greater or higher than the
27   usual fee charged by the provider to the general public for the same service” (the
28   “Discriminatory Billing Rule”). Id., ¶ 140.
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 1         During the time period relevant to the asserted claims, the RIC Defendants
 2   charged patients without any insurance, who paid for medical services in cash, fees
 3   that were lower than the rate Medi-Cal was billed for the same services. Id., ¶ 141.
 4   Examples include Patients AD 8/27/2012, MG 10/25/2011 and AG 7/9/2012. The
 5   CPT codes for which cash patients paid less than paid by Medi-Cal included, but
 6   were not limited to, CPT 67028 and CPT 67105. Id. An RIC Comparison of Self-
 7   Pay Payments analysis shows that self-pay patients paid, on average, 36.8% of
 8   RIC’s stated charges in 2011 and 23.1% of RIC’s stated charges in 2012. Id.
 9   Accordingly, each claim submitted by the RIC Defendants to Medi-Cal as a
10   primary payer was in violation of the Discriminatory Billing Rule. Id.
11         For almost all CPT codes, the RIC Defendants based the supposed usual fee
12   or chargemaster on 200% of the Medicare reimbursement rate. Id., ¶ 142. For
13   example, the rate Medicare reimburses for CPT 67028 in Southern California is
14   $124.28. Id. If RIC followed its usual procedure, the usual charge rate would have
15   been $250.00. Id. However, because Medi-Cal reimburses $364.11 for this code,
16   RIC’s usual charge was listed at $370.00. Id. In submitting claims for payment to
17   Medi-Cal, each of the RIC Defendants and providers certified that their services
18   complied with California statutes and regulations. Id., ¶ 143. Those certifications
19   were false, in that the RIC Defendants and providers were, in fact charging far
20   lower fees to the general public than the amounts they claimed for reimbursement
21   for the rendering of the same services to Medi-Cal beneficiaries. Id.
22   Consequently, each claim for payment to Medi-Cal was a false claim in violation
23   of the CA-FCA. Id., ¶ 144. The payments received by the RIC Defendants due to
24   such false claims from 2006 through 2012 total $1,233,356.78 and Defendants
25   continue to receive payments from Medi-Cal for false claims. Id.8
26
27         8
            Similarly, as directed by RIC, cash-paying CEES patients and RIC patients,
28   as well as SG-ASC patients, paid lower amounts than paid by Medi-Cal. Id., ¶ 145.
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 1                2.     Violations of the CA-IFPA
 2         Approximately one-third of the RIC patients had commercial insurance
 3   coverage for the services provided by RIC. Id., ¶ 148. The contracts between the
 4   RIC Defendants and commercial insurance carriers, including, but not limited to
 5   Empire Blue Cross/Blue Shield, Cigna and United Healthcare, require that the
 6   patient be charged and pay a deductible and/or a co-payment before a benefit is
 7   payable under the plan. Id. However, Defendants routinely waived co-payments
 8   and deductibles for patients with commercial insurance as well. Id., ¶ 149. When
 9   submitting claims to commercial carriers for these patients, the RIC Defendants
10   and providers listed the co-payment amounts and actually or impliedly represented
11   that they were charging the required co-payments or deductibles, when they were
12   not. Id.9
13                3.     Violation of the California Business and Professions
                         Code Sec. 654.2 - San Gabriel Surgery Center
14
           Due to the conduct set forth in Section II(D) above, the RIC Defendants’
15
     submissions to Medi-Cal for services they perform at the San Gabriel Surgery
16
     Center and for the use of its facilities and nursing services by patients referred by
17
     RIC, CEES and the providers is false and fraudulent, in violation of Sec. 654.2 of
18
     the California Professions and Business Code. Id., ¶¶ 155-161.
19
20
   For example, CEES doctors charged patients who paid cash $35.00 for CPT 92250,
21
   but Medi-Cal paid $42.11. Id. Accordingly, each claim submitted by CEES and
22 SGASC providers to Medi-Cal as a primary payer was in violation of the
   Discriminatory Billing Rule. Id.
23
24
           9
            Further, because Defendants accepted lower payments from patients who
     paid cash, Defendants failed to disclose their actual, usual prices when making
25
     claims for benefits to commercial carriers. Id., ¶ 150. Each of the claims for
26   payment that Defendants presented or caused to be presented to insurers that failed
     to reveal the waiver of co-payments and deductibles, or that failed to disclose their
27
     true usual charges for the services listed, contained false and misleading
28   information about material facts. Id., ¶ 151.
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 1   III.   ARGUMENT
 2          A.    Standard Of Review
 3          A complaint meets the rigors of Rule 12(b)(6) if it pleads “enough facts to
 4   state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
 5   U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff pleads
 6   factual content that allows the court to draw the reasonable inference that the
 7   defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,
 8   678, 129 S.Ct. 1937, 1949 (2009). In determining whether the complaint states a
 9   plausible claim for relief, the court must “draw on [its] judicial experience and
10   common sense,” Iqbal, 556 U.S. at 679, and consider “‘obvious alternative
11   explanation[s].’” Id. at 682. “The plausibility standard is not akin to a ‘probability
12   requirement,’ but it asks for more than a sheer possibility that a defendant has
13   acted unlawfully.” United States v. Corinthian Colls., 655 F.3d 984, 991 (9th Cir.
14   2011). In considering whether to dismiss a complaint, the court must accept the
15   allegations of the complaint as true, Erickson v. Pardus, 551 U.S. 89, 93-94 (2007),
16   construe the pleading in the light most favorable to the pleading party, and resolve
17   all doubts in the pleader’s favor. See Jenkins v. McKeithen, 395 U.S. 411, 421-22
18   (1969); Berg v. Popham, 412 F.3d 1122, 1125 (9th Cir. 2005). Rule 9(b) also
19   applies because the FCA is an anti-fraud statute, which the complaint meets when
20   the circumstances constituting fraud, i.e., the “who, what, when, where, and how of
21   the misconduct charged,” are alleged with particularity, but conditions of a
22   person’s mind may be alleged generally. Ebeid ex rel. U.S. v. Lungwitz, 616 F.3d
23   993, 998 (9th Cir. 2010). As set forth below, the SAC thoroughly meets the
24   standard and dismissal is unwarranted.
25          B.    The SAC Pleads Cogent And Actionable Claims Under The FCA
26                1.     The Claims Under The Federal FCA
27          Defendants begin their Motion with a boilerplate discussion of certain legal
28   principles governing claims asserted under the FCA. See Motion at 12-14. But,
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 1   despite that general discussion, Defendants make no effort to apply the law cited to
 2   the facts pled in the Complaint and, indeed, do not assert that the Complaint fails to
 3   meet the requirements of many of the legal principles cited in that discussion.
 4                   2.   The Routine Waivers Of Co-Payments Violated The FCA
 5         The AKS forbids, inter alia, any person or entity from knowingly and
 6   willfully paying or receiving anything of value (“remuneration”) to influence the
 7   referral of services reimbursable by a federal healthcare program. U.S. ex rel.
 8   Bartlett v. Ashcroft, 39 F. Supp. 3d 656, 675 (W.D. Pa. 2014) (citing 42 U.S.C. §
 9   1320a–7b(b); United States v. LaHue, 261 F.3d 993, 996 (10th Cir.2001); see also
10   Ameritox, Ltd. v. Millennium Labs., Inc., 20 F.Supp.3d 1348, 1356 (M.D. Fla.
11   2014) (same); U.S. ex rel. Osheroff v. Tenet Healthcare Corp., 2013 WL 1289260,
12   at *1 (S.D. Fla. Mar. 27, 2013) (same). There are no exceptions to what may
13   constitute remuneration under the AKS, which is broadly construed to mean
14   “anything of value.” See, e.g., U.S. v. Narco Freedom, Inc., 2015 WL 1499265 at
15   *8 (S.D.N.Y. 2015) (remuneration under AKS is anything of value and not limited
16   to traditional bribes; remuneration may include an “in-kind benefit [i.e., subsidized
17   housing] provided at below market value to Medicaid beneficiaries”); Ameritox,
18   Ltd., 20 F. Supp.3d at 1356 (“[T]he AKS does not contain exceptions to the broad
19   definition of remuneration.”); U.S. ex rel. McDonough v. Symphony Diagnostic
20   Servs., 36 F.Supp.3d 773 (S.D. Ohio 2014) (remuneration can be “anything of
21   value”); Klaczak v. Consol. Med. Transp., 458 F.Supp.2d 622, 678 (N.D. Ill. 2006)
22   (“Remuneration, for purposes of the AKS, is defined broadly, meaning ‘anything
23   of value.’”).
24         Defendants do not contest the guidance of the Office of Inspector General of
25   the Department of Health and Human Services that the routine waiver of co-
26   payments can violate the AKS and misrepresent the true charges for RIC’s
27   services. See OIG Advisory Opinion No. 97-4 (HHSOIG), 1997 WL 34684552
28   (September 25, 1997). As the OIG explained in that advisory opinion letter:
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 1         Section 231(h) of HIPAA, effective January 1, 1997, provides for the
           imposition of civil monetary penalties against any person who:
 2
           offers or transfers remuneration to any individual eligible for
 3         benefits under [Federal health care programs (including Medicare or
           Medicaid)] that such person knows or should know is likely to
 4         influence such individual to order or receive from a particular
           provider, practitioner, or supplier any item or service for which
 5         payment may be made, in whole or in part, [by a Federal health care
           program].
 6
           Section 231(h) defines “remuneration” as including, inter alia, the
 7         waiver of coinsurance and deductible amounts (or any part thereof).
           Waivers of coinsurance and deductible amounts are excepted from the
 8         definition of remuneration if:
 9               (i) the waiver is not offered as part of any advertisement
                 or solicitation;
10
                 (ii) the person making the waiver does not routinely
11               waive coinsurance or deductible amounts; and
12               (iii) the person making the waiver
13                      (I) waives the coinsurance and deductible
                        amounts after determining in good faith that
14                      the individual is in financial need; or
15                      (II) fails to collect coinsurance or deductible
                        amounts after making reasonable collection
16                      efforts.
17   Id. at *2, citing 42 U.S.C. § 1320a-7a(i)(6); see also 42 CFR § 1003.110 (including
18   waiver of co-payments in unlawful remuneration).
19         Instead, Defendants “creatively” argue that Plaintiffs’ detailed averments are
20   somehow “conclusory” because the Complaint allegedly fails to establish that the
21   Medicare patients for whom co-payment waivers were made “did not have
22   ‘financial hardship’ or ‘financial need’ supporting such waivers and that such
23   waivers were to ‘induce’ the Medicare patients to receive services from RIC....”
24   See Motion at 16. That is nonsense. The Complaint pleads exactly such conduct:
25         !     RIC waives co-payments for impermissible reasons such as frequent
                 patients and patients with a high balance, and requires no supporting
26               documentation for patients claiming financial hardship (id. ¶ 62);
27         !     RIC’s co-payment waivers note the reason for the write-off, often with
                 notations from the instructing provider;
28

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 1         !      A sample of Medicare patients whose co-payments were not collected
                  by RIC and without any documentation explaining the reason for the
 2                waivers (id. ¶ 64);
 3         !      Details regarding RIC’s woefully inadequate financial hardship form
                  (id. ¶ 65);
 4
           !      Three of the RIC partners ignoring Plaintiff-Relator Smith’s advice, as
 5                RIC’s COO, to cease RIC’s practice of waiving patient co-payments
                  (id. ¶ 66);
 6
           !      Plaintiff-Relators personally witnessed Dr. Chang instructing
 7                providers to continue to routinely waive co-payments regardless of
                  any potential Medicare fines (id. ¶ 67);
 8
           !      Details of RIC CEO Braun’s program pushing Provider Physicians to
 9                solicit referrals through waiving co-payments (id. ¶¶ 69-72);
10         !      Physician Provider Dr. Kristy Lin and Dr. Chang informing Plaintiff
                  Relator Smith’s that patients were only referred Dr. Rose because
11                their co-payments would be waived (id. ¶ 73); and
12         !      Physician Provider Dr. Suk’s insistence, despite Plaintiff-Relator
                  Rogers’ warning, that routine co-payments be waived to ensure
13                continued referrals (id. ¶ 74).
14         Moreover, Defendants’ argument that the Complaint somehow fails to fulfill
15   the requirements of Fed.R.Civ.P. 9(b) are pure makeweight. The allegations that
16   can satisfy a Rule 9(b) analysis are not contained in a strict checklist. See Frazier
17   ex rel. U.S. v. Iasis, 392 F. App’x 535, 537 (9th Cir. 2010) (Relator not required to
18   plead representative examples; “he must only plead with sufficient particularity to
19   lead to a strong inference that false claims were actually submitted.”); U.S. ex rel.
20   Schuhardt v. Washington Univ., 228 F. Supp. 2d 1018, 1034 (E.D. Mo. 2002)
21   (“plaintiffs . . . [are] not required to provide a specific allegation to substantiate
22   each and every general allegation within the complaint.”); U.S. v. Gen. Dynamics,
23   315 F. Supp. 2d 939, 946 (N.D. Ill. 2004) (the “[l]ength and grueling exaction is
24   not the purpose of Rule 9(b).”). Rather, as the Court in U.S. ex rel. Bilotta v.
25   Novartis Pharmaceuticals Corp., 50 F.Supp.3d 497, 507-508 (S.D.N.Y. 2014),
26   cogently explained:
27
28

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 1           “Because the False Claims Act is an anti-fraud statute, ‘claims
             brought under the FCA fall within the express scope of Rule 9(b).’”
 2           United States v. New York Soc. for the Relief of the Ruptured &
             Crippled, Maintaining the Hosp. for Special Surgery, No. 07 Civ.
 3           292(PKC), 2014 WL 3905742, at *7 (S.D.N.Y. Aug. 7, 2014)
             (quoting Gold v. Morrison–Knudsen Co., 68 F.3d 1475, 1477 (2d
 4           Cir.1995)). Rule 9(b) provides that “[i]n alleging fraud or mistake, a
             party must state with particularity the circumstances constituting fraud
 5           or mistake. Malice, intent, knowledge, and other conditions of a
             person's mind may be alleged generally.” Fed.R.Civ.P. 9(b). “The
 6           purpose of Rule 9(b) is threefold—it is designed to provide a
             defendant with fair notice of a plaintiff's claims, to safeguard a
 7           defendant's reputation from ‘improvident charges of wrongdoing,’ and
             to protect a defendant against the institution of a strike suit.” O'Brien
 8           v. Nat'l Analysts Partners, 936 F.2d 674, 676 (2d Cir.1991) (quoting
             Ross v. Bolton, 904 F.2d 819, 823 (2d Cir.1990)).
 9
             “Rule 9(b) does not impose a ‘one size fits all’ list of facts that must
10           be included in every FCA complaint.” U.S. ex rel. Kester v. Novartis
             Pharm. Corp., 23 F.Supp.3d 242, 258, 2014 WL 2324465, at *15
11           (S.D.N.Y. May 29, 2014) (quoting In re Cardiac Devices Qui Tam
             Litig., 221 F.R.D. 318, 337–38 (D.Conn.2004)). “Ultimately, whether
12           a complaint satisfies Rule 9(b) ‘depends upon the nature of the case,
             the complexity or simplicity of the transaction or occurrence, the
13           relationship of the parties and the determination of how much
             circumstantial detail is necessary to give notice to the adverse party
14           and enable him to prepare a responsive pleading.’ ” Id. (quoting
             United States v. Wells Fargo Bank, N.A., 972 F.Supp.2d 593, 616
15           (S.D.N.Y.2013)). This “is a fact-specific inquiry.” Id.
16   Here, the detailed averments of the Complaint place Defendants specifically on
17   notice as to the claims against them. That is all that is required.
18           Likewise, Defendants’ argument that the waiver of co-payments does not
19   change the amount of Medicare reimbursement misses the entire point. See Motion
20   at 18 (claiming that reimbursement occurs at 80% of fee schedule amount). As
21   was recently explained in an article detailing a settlement reached regarding the
22   waiver of co-payments by a medical group in a circumstance similar to that present
23   here:
24           Medical Group Settles Case Over Copay Waivers, Low-Level Codes
25           A medical group in New York state has settled a false claims lawsuit
             over copay waivers and misuse of low-level CPT codes, two areas that
26           seem to be dogging providers.
27           Hudson Valley Hematology-Oncology Associates, which operates six
             clinics, agreed to pay $5.31 million to settle Medicare and Medicaid
28           false claims allegations, the U.S. Attorney’s Office for the Southern
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 1         District of New York said Oct. 21. Hudson Valley also entered into a
           five-year corporate integrity agreement with the HHS Office of
 2         Inspector General over the misconduct, which spanned 2010 to 2015.
 3         The routine waiver of Medicare cost-sharing amounts potentially
           implicates the anti-kickback statute and the civil monetary penalty
 4         (CMP) law forbidding inducements to beneficiaries.
 5                                   *      *       *
 6         Copay waivers trouble the government because they inflate the
           amount Medicare pays for services. As the HHS Office of Inspector
 7         General said in a 1994 fraud alert, “if a supplier claims that its charge
           for a piece of equipment is $100, but routinely waives the copayment,
 8         the actual charge is $80. Medicare should be paying 80 percent of $80
           (or $64), rather than 80 percent of $100 (or $80). As a result of the
 9         supplier’s misrepresentation, the Medicare program is paying $16
           more than it should for this item.”
10
           Providers are permitted to occasionally waive copays when they
11         document the patient’s financial hardship, but it shouldn’t be the
           norm. According to the complaint, “Hudson Valley routinely waived
12         copayments, without making an individualized determination of
           financial hardship or exhausting reasonable collection efforts.”
13         Patients were given a pass because they had high balances, said they
           couldn’t pay or were frequent patients. “Hudson Valley often waived
14         the copayment associated with it even if the patient did not request a
           waiver. Hudson Valley would note the automatic waiver in its billing
15         systems by indicating ‘99212 courtesy write off,’” the complaint said.
           These reasons didn’t pass muster, and there was no documentation to
16         support them.
17         “It is such a black and white area, and it has been since the 1994
           OIG fraud alert,” says Ed Gaines, chief compliance officer for Zotec
18         Partners’ Emergency Medicine Division in Greensboro, N.C. There’s
           no waiving copays and deductibles routinely for government payers
19         and it should be done on a case-by-case basis when patients have
           established financial need, he says. While there’s “tremendous
20         pressure on practices to ease the burden on patients — aside from
           government payers, they are now the largest payer in health care, with
21         average out-of-pocket costs of $1,060 per patient, according to the
           Kaiser Family Foundation” — copay waivers will get practices in hot
22         water, Gaines says. They have been dominant in other cases. The
           Institute of Cardiovascular Excellence in Ocala, Fla., was accused in a
23         false claims lawsuit of waiving copays and performing medically
           unnecessary procedures (RMC 1/12/15, p. 5), and on June 30, 2016,
24         agreed to settle the case for $2 million.
25   See Report on Medicare Compliance, Vol. 25, No. 39 at 3-4 (October 31,
26   2016)(emphasis added), a true and correct copy of which is attached as Exhibit “A”
27   to the Declaration of Kolin C. Tang (“Tang Decl.”); see also Complaint in
28   Intervention in United States v. Hudson Valley Hematology-Oncology Associates,
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 1   RLLP et al., 14-CV-2653 (S.D.N.Y.), a true and correct copy of which is attached
 2   as Exhibit “B” to the Tang Decl. Thus, Defendants’ arguments are without merit.
 3                3.     The SAC Pleads Actionable Claims Based On RIC’s
                         Co-Marketing Agreement With RICX
 4
           Defendants’ similar argument -- that the Complaint’s detailed averments
 5
     regarding the co-marketing arrangements between RIC and RICX somehow fail to
 6
     meet the requirements of Rule 9(b) -- is absurd. See Motion at 18-19. The
 7
     Complaint specifically pleads that RIC entered into an arrangement with RICX, an
 8
     entity in which Dr. Chang maintains an ownership interest, to generate self-
 9
     referrals, and that RIC provided significant inducements in order to obtain
10
     referrals. SAC, ¶¶ 77-89. Such conduct is the essence of an AKS violation, as
11
     well as a violation of the Stark Act, as more fully discussed below.
12
                  4.     The SAC Pleads FCA Violations Based on the RIC Physicians’
13                       Referrals to the San Gabriel Ambulatory Surgery Center
14         Keeping with their “kitchen-sink” approach, Defendants argue that Relators’
15   claims related to the RIC Defendants’ referrals to the SG-ASC should be dismissed
16   because Relators fail “to plausibly allege that the RIC Partners did not satisfy the
17   safe harbor.” Motion at 20. Unsurprisingly, Defendants’ argument ignores both
18   the allegations of the SAC and the relevant law.
19         Initially, Relators properly and plausibly allege that Defendants violated the
20   AKS and the Stark Act, 42 U.S.C. § 1395nn, by routinely referring patients to SG-
21   ASC, a surgery center in which they held a 50% ownership interest. SAC, at ¶¶
22   91-92. As detailed above, the AKS forbids, inter alia, any person or entity from
23   knowingly and willfully paying or receiving anything of value (“remuneration”) to
24   influence the referral of services reimbursable by a federal healthcare program.
25   See, e.g., U.S. ex rel. Bartlett v. Ashcroft, 39 F. Supp. 3d at 675. And, again, there
26   are no exceptions to what may constitute remuneration under the AKS, which is
27   broadly construed to mean “anything of value.” See, e.g., U.S. v. Narco Freedom,
28   Inc., 2015 WL 1499265, at *8. Defendants, through their ownership interest in
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 1   SG-ASC, received remuneration as a result of the referrals they, and other
 2   physicians employed by RIC and CEES, made to SG-ASC. As such, they sought
 3   to induce physicians to arrange for services for which payment may be made under
 4   Medicare and/or Medicaid, in violation of the AKS.
 5         Defendants’ violation of the Stark Act is equally clear. Simply stated, the
 6   Stark Act prohibits physicians from making patient referrals for “designated health
 7   services,” if the referring physician (or an immediate family member) has a
 8   “financial relationship” with the entity providing the services. U.S. ex rel. Bartlett,
 9   39 F. Supp. 3d at 662 (citing 42 U.S.C. § 1395nn(a)(1)(A). The Stark Act further
10   proscribes a healthcare entity from presenting or causing to be presented a
11   Medicare claim for services furnished pursuant to a prohibited self-referral. Id.
12   (citing 42 U.S.C. § 1395nn(a)(1)(B); U.S. ex rel. Schmidt v. Zimmer, Inc., 386 F.3d
13   235, 239 (3d Cir. 2004)). A physician has a “financial relationship” with an entity
14   if, as is alleged here, the physician has “an ownership or investment interest in the
15   entity” with it. 42 U.S.C. § 1395nn(a)(2). The Stark Act “is a strict liability
16   statute” that does not require intent. 72 Fed. Reg. 51,011, at 51,026. A hospital’s
17   submission of a false certification violates the Stark Act and also violates the FCA.
18   U.S. ex rel. Thompson v. Columbia/HCA Healthcare Corp., 125 F.3d 899, 902-03
19   (5th Cir. 1997). Further, a Stark Act violation is a per se FCA violation. U.S. ex
20   rel. Thompson v. Columbia/HCA Healthcare Corp., 20 F. Supp. 2d 1017, 1039
21   (S.D. Tex. 1998).10
22
23         10
             Both the AKS and the Stark Act contain safe harbor provisions. It is
24   Defendants’ actions in violation of the AKS and the Stark Act, however, and not
     Defendants’ failure to satisfy the safe harbor provisions, which form the basis for
25
     Relators’ claims. Although a number of statutory and regulatory safe harbors
26   protect certain business arrangements that might otherwise violate the AKS, see 42
     U.S.C. § 1320a–7b(b)(3)(A)–(J); 42 C.F.R. § 1001.952, these safe harbors are
27
     affirmative defenses, and Defendants carry the burden of proof at trial. U.S. ex rel.
28   Bartlett, 39 F. Supp. 3d at 676 (citing United States v. Rogan, 459 F. Supp.2d 692,
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 1                5.     The SAC Pleads an FCA Claim Based on the Upcoding of
                         Drs. Davis, Samuel and Chang
 2
           Although the SAC alleges upcoding by Drs. Davis, Samuel and Chang,
 3
     Defendants’ Motion only addresses the allegations against Drs. Davis and Samuel
 4
     without discussing the allegations against Dr. Chang at all. Upcoding is actionable
 5
     under the FCA. U.S. ex rel. Harris v. Bernad, 275 F. Supp. 2d 1, 6-7 (D.D.C.
 6
     2003) (citing United States v. Halper, 490 U.S. 435, 437-38, 109 S.Ct. 1892, 104
 7
     L.Ed.2d 487 (1989), overruled on other grounds, Hudson v. United States, 522
 8
     U.S. 93, 118 S.Ct. 488, 139 L.Ed.2d 450 (1997)); United States v. Krizek, 192 F.3d
 9
     1024, 1025-26 (D.C.Cir.1999); J. Boese, CIVIL FALSE CLAIMS AND QUI TAM
10
     ACTIONS, § 3.01[A]). Defendants do not dispute that upcoding is actionable but
11
12
13   716 (N.D. Ill. 2006)); United States v. Job, 387 Fed.Appx. 445, 455 (5th Cir. 2010)
     (unpublished); United States v. Norton, 17 Fed.Appx. 98, 102 (4th Cir. 2001)
14   (unpublished). It is well-settled that “the assertion of an affirmative defense may
15   be considered properly on a motion to dismiss where the ‘allegations in the
     complaint suffice to establish’ the defense.” Sams v. Yahoo! Inc., 713 F.3d 1175,
16
     1179 (9th Cir. 2013); see also ASARCO, LLC v. Union Pac. R. Co., 765 F.3d 999,
17   1004 (9th Cir. 2014). That is clearly not the case here, as Defendants are not
     arguing that the SAC establishes that they satisfied the safe harbor requirements,
18
     only that the SAC fails to establish that they did not, which is clearly not Relators’
19   burden at this, or any stage.
20
            The Stark Act also contains certain safe harbors, however, like the AKS safe
21   harbors, those safe harbors are affirmative defenses and, “a defendant bears the
22   burden of establishing his eligibility for an exception to the Stark law.” U.S. ex rel.
     Villafane v. Solinger, 543 F.Supp.2d 678, 687 (W.D. Ky. 2008); see also U.S. v.
23   Job, 387 F.Appx. at 455. Contrary to Defendants’ argument, a relator “need not
24   prove, as an element of its case, that defendant’s conduct does not fall within a safe
     harbor or exception.” Rogan, 459 F.Supp.2d at 716 (N.D. Ill. 2006). Relators have
25
     plausibly and specifically plead the RIC Defendants’ ownership interest in SG-
26   ASC and plead that the RIC Defendants referred patients to that facility and,
     although clearly not required to do so, Relators also plead facts that establish that
27
     the RIC Defendants did not establish the safe harbor requirements of the AKS and
28   Stark Act. See SAC, at ¶¶ 95-96.
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 1   contend that Relators have failed to adequately allege that Drs. Davis and Samuel
 2   engaged in improper upcoding. This argument fails.
 3         As noted above, the allegations that can satisfy a Rule 9(b) analysis are not a
 4   strict checklist. See Frazier ex rel. U.S., 392 F. App’x at 537 (Relator not required
 5   to plead representative examples; “he must only plead with sufficient particularity
 6   to lead to a strong inference that false claims were actually submitted.”). Far from
 7   conclusory allegations, Relators allege that data from a government audit of the
 8   Medicare claims data of Drs. Chang, Davis and Samuel for claims between 2006
 9   and 2013 reveals that the doctors engaged in massive upcoding, accounting for
10   30% of their Medicare charges, which was unsupported by the pertinent medical
11   records. SAC ¶¶ 113-116. In addition, the audit data revealed that the RIC
12   Defendants engaged in the medically unnecessary and unreasonable practice of
13   bringing patients back every few weeks for follow-up visits without medical
14   justification. SAC ¶ 115. Finally, Relators allege that the compensation structure
15   at RIC encouraged, and indeed required, upcoding in order to advance
16   professionally at RIC. SAC ¶¶ 126-128. Relators’ allegations are sufficiently
17   particular to easily satisfy the requirements of Rule 9(b). The cases cited by
18   Defendants do not change this obvious conclusion.11
19
20         11
              Defendants suggest that United States v. Prabhu, 442 F. Supp. 2d 1008 (D.
21   Nev. 2006), supports the position that allegations of unnecessary treatment cannot
22   establish FCA liability as a matter of law. Motion at 23. This is manifestly
     incorrect. In Prabhu, the Court granted summary judgment on the United States’
23   FCA claims because “[t]he Government has failed to adduce any evidence that . . .
24   from a clinical standpoint--the services were medically unnecessary.” Prabhu, 442
     F. Supp. at 1032. Prabhu stands for the unremarkable proposition that, where
25
     there is no evidence in the record to support the allegation that the services
26   provided were medically unnecessary, summary judgment is appropriate on claims
     that billing for those services violated the FCA and does not support the
27
     extraordinary assertion that Defendants make here, that allegations of billing for
28   unnecessary services -- even if proven -- cannot support FCA liability. Frazier is
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 1         6.     The SAC States FCA Claims Based on Defendants’ Medicare
                  Claims For Unnecessary and/or Worthless ICG Angiography Tests
 2
           Throughout their Motion to Dismiss, Defendants have conveniently ignored
 3
     the actual allegations of the SAC. In arguing that Relators’ claims based on
 4
     unnecessary ICG tests are somehow deficient, Defendants literally ignore the
 5
     allegations of the SAC and are, instead, apparently discussing the allegations of the
 6
     FAC. See Motion at 24. (Defendants cite to SAC ¶¶ 113-114, 116 ,which discuss
 7
     upcoding and not ICG tests, but which discussed ICG tests in the FAC and
 8
     pointedly ignore the actual allegations contained in the SAC).
 9
           As with Relators’ upcoding claims, Defendants concede that claims based on
10
     the prescription of medically unnecessary services can be actionable under the
11
     FCA. Defendants, however, question the sufficiency of Relators’ allegations (or, it
12
     would appear, the allegations of the FAC). The allegations of the SAC make it
13
     clear that Defendants were prescribing and charging Medicare for medically
14
     unnecessary services and unquestionably satisfy Rule 9(b).
15
           Relators allege that ICGs are a controversial technique used infrequently in
16
     evaluating and treating AMD and use of this technique is not the preferred practice
17
18
     equally inapposite. There, the Ninth Circuit upheld the dismissal of an FCA
19   complaint because the complaint lacked any “reliable indicia” that the defendant
20
     had submitted claims for medically unnecessary procedures. Frazier, 392 F.
     App’x at 537. Such scant allegations stand in stark contrast to the allegations of
21   the SAC and Frazier does not support dismissal of Relators’ upcoding claims. The
22   other cases relied upon by Defendants are similar in that they are dismissals of
     claims based on a lack of adequate allegations, or actually support Relators’
23   position. See U.S. ex rel. Obert-Hong v. Advocate Health Care, 211 F. Supp. 2d
24   1045, 1051 (N.D. Ill. 2002) (“nothing in the complaint to suggest a pattern of
     upcoding”); U.S. ex rel. Stewart v. The Louisiana Clinic, No. CIV.A. 99-1767,
25
     2002 WL 1066745, at *2 (E.D. La. May 28, 2002) (finding allegations less detailed
26   than in the SAC to be sufficient to maintain upcoding claims at the pleading stage);
     U.S. ex rel. Bennett v. Boston Sci. Corp., No. CIV.A. H-07-2467, 2011 WL
27
     1231577, at *30 (S.D. Tex. Mar. 31, 2011) (“relator has not identified any hospital
28   or physician who did in fact ‘upcode’ improperly”).
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 1   or current standard of care for the evaluation and treatment of AMD recommended
 2   by the AAO. SAC ¶ 117. Relators also allege that, despite the fact that the routine
 3   use of ICGs is not scientifically supported, Defendants used it for virtually every
 4   patient. SAC ¶¶ 118-119. Relators further allege that the DOJ evaluated the RIC
 5   Defendants’ use of ICGs performed on Medicare patients between February and
 6   May 2014 and the results of that evaluation revealed that only 9.2% of the ICG
 7   studies were found to be appropriate and medically necessary. SAC ¶¶ 119, 121.
 8   Finally, Relators allege that the RIC Defendants conducted the ICG tests as a
 9   means of making more money from Medicare patients and cited specific
10   correspondence in which Drs. Samuel, Davis and Chang discuss how they make
11   money from the ICG testing. SAC ¶¶ 120-121. These well-pled allegations are
12   clearly sufficient to satisfy Rule 9(b).12
13                7.     The SAC States A Claim For Duplicate Billing Services
14         Defendants concede that the SAC’s duplicate billing allegations (SAC ¶¶
15   122-125) constitute a valid theory of FCA liability, but then argue, in a conclusory
16   fashion and without citation to any authority, that the SAC’s allegations that
17   Defendants engaged in double billing do not meet the requirements of Rule 9(b).
18   Motion, at 25-26. Not so.
19
20
21         12
              The cases cited by Defendants do not support another conclusion. As
22   discussed above, the threadbare allegations in Frazier are not similar in any way to
     the allegations of the SAC. Frazier, 392 F. App’x at 537. The complaint in U.S.
23   ex rel. Thompson, was similarly infirm and in no way similar to the allegations of
24   the SAC. 125 F.3d at 902-03 (only allegation supporting medically unnecessary
     services claim was that “[i]n reasonable probability, based on statistical studies
25
     performed by the Government and others”). Advanced Rehab., LLC v.
26   UnitedHealthgroup, Inc., does not even discuss an FCA claim and should be
     disregarded altogether. 498 F. App’x 173, 175 (3d Cir. 2012) (“Plaintiffs’
27
     complaint alleged breach of contract and breach of fiduciary duty under both
28   ERISA and state law.”).
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 1         The SAC alleges the “who” (RIC, Dr. Kislinger, and Dr. Bhatti, id. ¶ 123),
 2   the “what,”(RIC double billing for services Dr. Bhatti performed in Dr. Kislinger’s
 3   clinic, id. ¶ 123), the “where” (Dr. Kislinger’s Glendora’s office, id.) the “when”
 4   (at least April through June of 2012, id. ¶ 123), and the “how” (Defendants
 5   submitting those fraudulent claims to Medicare, id. ¶ 124). Nevertheless,
 6   Defendants argue that the SAC does not explain “how” the fraudulent claims were
 7   submitted or that such billings were fraudulent as opposed to an inadvertent error,
 8   or identify any Medicare claims. Motion, at 25-26. But the SAC alleges that
 9   Plaintiff-Relator Smith, as the COO of RIC, personally witnessed records of these
10   fraudulent claims, advised Dr. Chang of their fraudulent nature, but was then
11   ignored. SAC ¶ 125. Given the totality of the circumstances, this is more than
12   sufficient to satisfy Rule 9(b). See United States v. Caris Life Scis., Inc., No.
13   3:10-CV-02237-P, 2013 WL 11579021, at *6 (N.D. Tex. Oct. 23, 2013)
14   (“[c]onsidering the totality of the allegations, [r]elators successfully state a FCA
15   claim and comply with the particularity requirements of Rule 9(b)” because one of
16   the relators’ “position as a coder purportedly allowed her to ‘witness’ these
17   practices, gave her access to ‘reports documenting duplicate billing,’ and provided
18   opportunities to speak with coding supervisors about the practice”).
19                8.     The SAC States A Claim For Services Not Performed
20         Defendants concede that the allegations that CEES billed Medicare for
21   services not performed by Dr. Lee is a valid theory for FCA liability (SAC ¶¶ 129-
22   132), but argue that there are no factual allegations establishing that CEES knew or
23   should have known that Dr. Lee did not participate in the relevant surgeries, citing
24   Corinthian Colls. Motion, at 26. But Corinthian Colls. provides no support.
25   There, the Ninth Circuit found that, notwithstanding the general rule that, under
26   Rule 9(b), “‘malice, intent, knowledge, and other conditions of a person’s mind,’
27   including scienter, can be alleged generally,” factual allegations were necessary to
28   establish that the defendant acted knowingly because of the existence of the “Safe
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 1   Harbor Provision on which it was entitled to rely.” Corinthian Colls., 655 F.3d at
 2   996-97. Here, these is no safe harbor, so fraudulent intent can be alleged generally
 3   (and, here, it is obvious from the averments of the SAC). SAC ¶¶ 130-32.
 4   Regardless, the SAC does provide the factual basis to infer CEES’ knowledge:
 5   some of these retinal surgeons did not require an assistant surgeon, which CEES
 6   was aware of from its experience as a medical provider, but CEES automatically
 7   billed for those services anyway. SAC ¶ 131; see Corinthian Colleges, 655 F.3d at
 8   997 (stating that deficiencies with the “intent” allegations could be readily cured
 9   with formal allegations that defendant “certified compliance with the HEA while
10   knowing that it was in fact compensating recruiters based solely on their
11   recruitment numbers”).
12                9.     The SAC States A Claim For The Knowing Submission
                         Of Incomplete Data To Medicare
13
           The SAC alleges that RIC also violated the FCA when it received a $60,000
14
     payment from the CMS predicated on the submission of data for a 12-month
15
     period, or the period January 1, 2011 to December 31, 2011, because RIC falsely
16
     attested that the data it submitted was accurate and complete, even though the
17
     submitted data only included the four months from September through December
18
     2011 and for activities in 2012 that had not yet occurred, was complete. SAC ¶¶
19
     133-138; see U.S. ex rel. Hendow v. Univ. of Phoenix, 461 F.3d 1166, 1172 (9th
20
     Cir. 2006) (“[s]o long as the statement in question is knowingly false when made,
21
     it matters not whether it is a certification, assertion, statement, or secret handshake;
22
     False Claims liability can attach”). Defendants argue, without any authority, that
23
     RIC’s submission of incomplete data and subsequent receipt of funds predicated on
24
     RIC’s provision of complete and accurate data to the RIC is somehow insufficient
25
     to establish an FCA claim. Motion, at 26. This nonsensical argument should be
26
     readily rejected.
27
28

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 1         C.     The SAC States Claims Under The CA FCA
 2                1.     The SAC Pleads Violations Of Medi-Cal’s Discriminatory
                         Billing Rules
 3
           The RIC Defendants and Providers and CEES and SG-ASC providers
 4
     violated the Discriminatory Billing Rule under Title 22, Section 51480(a) of the
 5
     California Code of Regulations by charging lower fees to uninsured cash patients,
 6
     and, thus, falsely certifying that they were in compliance with state laws when
 7
     making their submissions for Medi-Cal reimbursement. SAC ¶¶ 139-145. In
 8
     response, Defendants argue that California Business & Professions Code § 657
 9
     expressly permits them to grant discounts to such cash payers and exempts such
10
     discounts from consideration of Defendants’ “usual price” under the
11
     Discriminatory Billing Rule. Motion, at 28-29. But the RIC Defendants and
12
     Providers, CEES and SG-ASC providers are not entitled to the protection under
13
     Section 657, which requires that the provider have “reasonable cause to believe
14
     [the patient] is not eligible for, or is not entitled to, reimbursement, coverage under
15
     the Medi-Cal program” or other health care plan. Cal. Bus. & Prof. Code § 657(c).
16
     Specifically, those Defendants did not have “reasonable cause” to provide the
17
     discounts -- the discounts were provided as part of the overall scheme of waiving
18
     co-pays for every patient, regardless of the circumstance and without conducting
19
     any analysis whatsoever, for one purpose -- to induce referrals. SAC ¶¶ 55-76; see
20
     People v. Hering, 20 Cal. 4th 440, 446 (1999) (“[O]nly the character [i.e.,
21
     motivation,] of the [rebate] offer controls” to determine if it was permissible, citing
22
     Section 657).
23
                  2.     The SAC Pleads Violations Of California Business &
24                       Profession Code 654.2
25         Defendants argue that RIC, the RIC Partners, CCES, and SG-ASC’s failure
26   to disclose the RIC Partners’ investment interest in SG-ASC, in violation of
27   California Business & Professions Code § 654.2, is insufficient to sustain a CA-
28   FCA claim because Section 654.2 expressly provides that the failure to make such
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 1   a disclosure cannot serve as “the sole basis” for the denial of a claim by a health
 2   care service plan, including the Medi-Cal program. Motion, at 29-30. This
 3   argument is a red herring. As a preliminary matter, as discussed above, there are
 4   numerous other reasons for Medi-Cal to deny claims submitted by SG-ASC, so the
 5   failure to disclose would not serve as the “sole basis.” In any event, Defendants’
 6   CA-FCA liability does not stem from their failure to disclose pursuant to Section
 7   654.2; rather, their liability stems from their false certification that they complied
 8   with state law, which includes Section 654.2 and was material to Medi-Cal’s
 9   payment decision, when they submitted claims for reimbursement from Medi-Cal.
10   SAC ¶¶ 152-161; see, e.g., U.S. ex rel. Schmidt, 386 F.3d at 239; see generally San
11   Francisco Unified Sch. Dist. ex rel. Contreras v. Laidlaw Transit, Inc., 182 Cal.
12   App. 4th 438, 446, 452 (2010) (“[i]t is appropriate to turn to federal cases for
13   guidance in interpreting the” CA-FCA”).
14          Defendants also argue that the SAC’s allegations regarding RIC, the RIC
15   Partners, CCES, and SG-ASC’s failure to disclose RIC Partners’ investment
16   interest in SG-ASC do not meet the requirements of Rule 9(b). Motion, at 30. But
17   the SAC provides the relationship between SG-ASC and the other Defendants
18   (SAC ¶ 24), the lack of any clear disclosure to patients (SAC ¶¶ 155, 158), as well
19   as the ambiguous/false representation in brochures given to patients (SAC ¶¶ 156-
20   57).
21          D.    The SAC Pleads Violations Of The CA-IFPA
22          The SAC’s allegations regarding Defendants’ violation of the CA-IFPA
23   arising from Defendants’ routine waivers of copayments for patients with private
24   insurance (SAC ¶¶ 146-151) is the California commercial insurance corollary to
25   Defendants’ violation of the federal AKS and the FCA (SAC ¶¶ 55-76). As such,
26   Defendants’ argument that these allegations do not meet Rule 9(b) (Motion, at 30-
27   31) are similarly without merit as discussed above, supra Section III.B.2.
28

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 1         Defendants also assert that there are no allegations that they were not
 2   permitted to waive plan deductibles and co-payments for financial hardship or
 3   other circumstances (Motion, at 31), but that is irrelevant. Regardless of the
 4   availability of any “waivers,” the RIC Defendants and Providers violated the CA-
 5   IFPA by submitting claims to commercial carriers falsely representing that they
 6   were charging the required co-payments. SAC ¶ 149.13 And, as discussed above,
 7   supra Section III.C.1, the discounts offered by the RIC Defendants and Providers
 8   and CEES and SGASC providers were not protected by Cal. Bus. & Prof. Code §
 9   657(c), which requires “reasonable cause,” because the motivation for offering
10   discounts to uninsured patients was part of an overall scheme of inducing referrals
11   of patients covered by Medi-Cal and other health care plans.
12         E.     The Complaint Does Not Violate Any Group Pleading Rules
13         Finally, Defendants argue that the SAC engages in impermissible group
14   pleading. Motion, at 32. But the SAC identifies each of the Defendants and their
15   roles in the multiple and overlapping fraudulent schemes they engaged in. SAC ¶¶
16   17-24 (identifying each of the Defendants and their roles). Indeed, as reflected in
17   Defendants’ Motion, Defendants were able to identify the allegations and claims
18   pertinent to each of them. See, e.g., Motion, at 19, 21 (“[n]ext, the Complaint
19   alleges that the RIC Partners’ Medicare claims for services provided at the
20   defendant SG-ASC were false”). As such, this argument should be rejected. See,
21   e.g., Gingras v. Rosette, No. 5:15-CV-101, 2016 WL 2932163, at *21 (D. Vt. May
22   18, 2016) (rejecting “group pleading” argument where both companies had
23   complementary roles in the same alleged wrongdoing”); Gao v. JPMorgan Chase
24   & Co., No. 14 CIV. 4281 PAC, 2015 WL 3606308, at *6 (S.D.N.Y. June 9, 2015)
25
26
27        If such waivers did exist and were applicable, the RIC Defendants and
           13


28 Providers presumably would have indicated as much in their claim submissions.

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 1   (rejecting “group pleading argument” where “the claims . . . and the grounds upon
 2   which they rest, are clear from the complaint”).14
 3   IV.   CONCLUSION
 4         For all of the reasons explained above, Defendants’ Motion to Dismiss the
 5   Second Amended Complaint should be denied in its entirety.
 6
 7   Dated: February 24, 2017               Respectfully submitted,
 8                                          SHEPHERD, FINKELMAN, MILLER
                                             & SHAH, LLP
 9
                                            /s/ Kolin C. Tang
10                                          Kolin C. Tang
                                            11755 Wilshire Boulevard, 15th Floor
11                                          Los Angeles, CA 90025
                                            Phone: (323) 510-4060
12                                          Facsimile: (866) 300-7367
                                            Email: ktang@sfmslaw.com
13
                                            James E. Miller
14                                          Laurie Rubinow
                                            Shepherd Finkelman Miller
15                                           & Shah, LLP
                                            65 Main Street
16                                          Chester, CT 06412
                                            Telephone: (860) 526-1100
17                                          Facsimile: (866) 300-7367
                                            Email: jmiller@sfmslaw.com
18                                                lrubinow@sfmslaw.com
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23           As such, the situation is clearly different than that in Lubin v. Sybedon
24
     Corp., 688 F. Supp. 1425, 1443 (S.D. Cal. 1988); Magluta v. Samples, 256 F.3d
     1282, 1284 (11th Cir. 2001); or Remmes v. Int’l Flavors & Fragrances, Inc., 389
25   F. Supp. 2d 1080, 1089 (N.D. Iowa 2005), where the complaint failed to identify
26   the specific roles of some or all of the defendants. Meanwhile, Corinthian Colls.,
     665 F.3d 984; Ebeid, 616 F.3d 993 (9th Cir. 2010); and U.S. ex rel. Grubbs v.
27   Kanneganti, 565 F.3d 180, 191 (5th Cir. 2009), only set forth the general
28   specificity requirements of Rule 9(b).
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 1                                   Monique Olivier
                                     Duckworth Peters Lebowitz Olivier, LLP
 2                                   100 Bush Street, Suite 1800
                                     San Francisco, CA 94104
 3                                   Telephone (415) 433-0333
                                     Facsimile: (415) 449-6556
 4                                   Email: monique@dplolaw.com
 5                                   Attorneys for Plaintiffs-Relators
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